             Case 1:19-cv-05244-AKH Document 64 Filed 03/20/20 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
U.S. SECURITIES AND EXCHANGE            :
COMMISSION,
                                        :
               Plaintiff,
                                        :   Civil Action No. 19-cv-5244
       vs.
                                        :
KIK INTERACTIVE INC.,
                                                    :
                     Defendant.
-------------------------------------- X


       DECLARATION OF MICHAEL E. WELSH IN SUPPORT OF DEFENDANT’S
                    MOTION FOR SUMMARY JUDGMENT


        I, Michael E. Welsh, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am an attorney at the law firm of Cooley LLP, counsel for Defendant Kik

Interactive Inc. (“Kik”) in the above captioned action. I am duly admitted to practice before this

Court. I am familiar with the proceedings in this case. I make the following statements based on

personal knowledge of the facts and circumstances set forth herein.

        2.       I respectfully submit this declaration in support of Kik’s Motion for Summary

Judgement and to transmit true and correct copies of the following documents:

 Exhibit                                     Document Description

  A.           Declaration of Tanner Philp

  B.           Excerpts of the investigative testimony transcripts of Peter Heinke, dated
               September 20 and September 21, 2018.

  C.           Excerpts of the investigative testimony transcripts of Tanner Philp, dated August
               20 and August 21, 2018.

  D.           Excerpts of the investigative testimony transcripts of Ted Livingston, dated
               November 11 and November 12, 2018.
     Case 1:19-cv-05244-AKH Document 64 Filed 03/20/20 Page 2 of 4




E.     The Simple Agreement for Future Tokens. Produced at bates KIK000066.

F.     Private Placement Offering Memorandum. Produced at bates KIK000037.

G.     Form D filed by Kik Interactive Inc. with the U.S. Securities and Exchange
       Commission. Produced at bates KIK000073.

H.     The TDE Terms of Use. Produced at bates KIK000079.

I.     Kin Frequently Asked Questions. Produced at bates KIK000029.

J.     Kin User Registration Guide. Produced at bates KIK000098.

K.     Kin Whitepaper. Produced at bates KIK000001.

L.     Article titled “Announcing Kin, a Cryptocurrency for an Open Future,” dated May
       25, 2017, marked as Investigative Testimony Exhibit 200.

M.     Press Release, dated May 25, 2017, marked as Investigative Testimony Exhibit 3.

N.     Article titled “Why I am Telling my Friends and Family That They Should
       Participate in the Kin TDE,” dated September 6, 2017. Produced at bates
       KIK_00045122.

O.     Article titled “Kin TDE: If You Want to Participate, You *Must* Register by
       September 9, 9:00 a.m. ET.” Produced at bates KIK_00045080.

P.     Article titled “Kin token distribution event starts today,” dated September 12, 2017,
       marked as Investigative Testimony Exhibit 94.

Q.     Blog post titled “ThirdEyeSunglasses.com Will Now Accept Kin Coin,” dated
       January 2, 2018, publicly available at https://www.thirdeyesunglasses.205com/
       blogs/third-eye-sunglasses/thirdeyesunglasses-com-will-now-accept-kin-coin

R.     Current statistics of Kin transactions within the certain applications, publicly
       available at https://www.kin.org/stats/

S.     Webpage listing applications that have integrated Kin, publicly available at
       https://www.kin.org/kin-apps

T.     KinFit webpage, publicly available at https://www.mykinfit.com/.

U.     Webpage describing Love & Loud app, publicly available at
       https://play.google.com/store/apps/details?id=com.lnlradio&hl=en_US

V.     Current blockchain utilization statistics for cryptocurrency projects, publicly
       available at https://blocktivity.info/.

W.     Twitter message published by Kin Foundation, dated September 13, 2017.
       Produced at bates KIK_00006213.




                                           -2-
          Case 1:19-cv-05244-AKH Document 64 Filed 03/20/20 Page 3 of 4




  X.        Article titled “The Kin Revolution, in Kik CEO’ Ted Livingston’s Own Words,
            dated June 8, 2017, publicly available at https://news.communitech.ca/the-
            revolution-of-kin-in-kik-ceo-ted-livingstons-own-words/.

  Y.        Press release, dated September 26, 2017, marked as Deposition Exhibit 61.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 20, 2019 in Boston, Massachusetts.


                                                           /s/ Michael E. Welsh
                                                           Michael E. Welsh




                                                 -3-
         Case 1:19-cv-05244-AKH Document 64 Filed 03/20/20 Page 4 of 4




                               CERTIFICATE OF SERVICE

I, Michael E. Welsh, hereby certify that a true and correct copy of the foregoing document was
served on counsel of record via ECF on this 20th day of March, 2020.


                                                              /s/ Michael E. Welsh
                                                              Michael E. Welsh
